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 Attorney for Plaintiffs


               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION

GALLATIN WILDLIFE                  )
ASSOCIATION; YELLOWSTONE           )
BUFFALO FOUNDATION                 ) Case No. 2:15-cv-00027-BU-BMM
                                   )
           Plaintiffs,             )
     vs.                           ) PLAINTIFFS’ AMENDED
                                   )   NOTICE OF APPEAL
UNITED STATES FOREST               )
SERVICE, et al.,                   )
                                   )
           Defendants.             )
                                   )
                                   )
                                   )
                                   )
    Case 2:15-cv-00027-BMM Document 212 Filed 07/08/19 Page 2 of 2




       PLEASE TAKE NOTICE that Plaintiffs Gallatin Wildlife Association and

Yellowstone Buffalo Foundation, hereby appeal to the United States Court of Appeals for

the Ninth Circuit this Court’s December 16, 2017 “Order” (ECF No. 175) and this

Court’s May 7, 2019 “Order,” ECF No. 209. Plaintiffs’ appeal is timely under Federal

Rule of Appellate Procedure 4(a)(1)(B).


Respectfully submitted on this 8th day of July, 2019.



                              /s/ John Meyer
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